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 Attorneys for Defendant NIKE, INC.


                            UNIIED STA'IES DIS1RICT COURT

                                    DIS1RICT OF OREGON

                                    POR1LAND DIVISION

  KELLY CAHILL and SARA JOHNSTON,                  Case No. 3:18-cv-01477-JR
  individually and on behalf of others similarly
  situated,

                                Plaintiffs,

                 v.                                PROJECTIVE ORDER
  NIKE, INC., an Oregon Corporation,

                                Defendant(s).
       One or more of the parties has requested the production of documents or information that

at least one party considers to be or to contain confidential information, and that are subject to

protection under Federal Rule of Civil Procedure 26(c).

       The parties agree that good cause exists to protect the confidential nature of the

information contained in documents, interrogatory responses, responses to requests for

admission, or deposition testimony. This action alleges violations of the Federal Equal Pay Act,

the Oregon Equal Pay Act, Title VII of the Civil Rights Act, and the Oregon Equality Act. It

asserts claims of gender discrimination "ith respect to pay, job assignments; promotions, and

other conditions of employment. During the course of discovery, the patties may exchange

confidential documents and information relating to, for example, personnel data, matters

pertaining to claims of harassment or discrimination, salary and performance records,

competitive business data, and other sensitive information. The entry of this Protective Order

("Protective Order") is necessary to protect against disclosure of such documents and

information. See, e.g., Fed. R. Civ. Proc. 26(c)(l) (" [F]or good cause, [the court may] issue an

order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

or expense ... "); see also Arigbon v. Multnomah Cnty., No. CV-09-311-PK, 2009 WL 3335064,

at *2 (D. Or. Oct. 15, 2009).

       Based upon the above, and the Court being duly advised,

       IT IS HEREBY ORDERED as follo\\S:

       1.      All documents, testimony, and other materials produced by the parties in this case

and labeled "Confidential" or" Attorneys' Eyes Only" shall be used only in this proceeding.

       2.      Use of any information or documents labeled" Confidential" or "Attorneys' Eyes

Only" and subject to this Protective Order, including all information derived therefrom, shall be



STIPULATED PROTECTIVE ORDER
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restricted solely to the litigation of this case and shall not be used by any party for any business,

commercial, or competitive purpose. This Protective Order, ho,,ever, does not restrict the

disclost\re or use of any information or documents lawfully obtained by the receiving patty

through means or sources outside of this litigation. Should a dispute arise as to any specific

information or document, the burden shall be on the party claiming that such information or

document \\as lawfully obtained through means and sources outside of this litigation.

       3.      The parties, and third parties subpoenaed by one of the parties, may designate as

"Confidential" or "Attorneys' Eyes Only" documents, testimony, ,witten responses, or other

materials produced in this case if they contain information that the producing party has a good

faith basis for asserting is confidential under the applicable legal standards. The party shall

designate each page of the document with a stamp identifying it as" Confidential" or" Attorneys'

Eyes Only," if practical to do so.

       4.      If portions of documents or other materials deemed "Confidential" or" Attorneys'

Eyes Only" or any papers containing or making reference to such materials are filed with the

Court, they shall be filed under seal and marked as follo,,s or in substantially similar form:

               CONFIDENTIAL

               IN ACCORDANCE WITHAPROTECTIVEORDER, THE
               ENCLOSURE(S) SHALL BE TREATED AS CONFIDENTIAL AND
               SHALL NOT BE SHOWN TO ANY PERSON OTHER THAN THOSE
               PERSONS DESIGNATED IN PARAGRAPH 7 OF THE PROTECTIVE
               ORDER.

               or

               ATTORNEYS' EYES ONLY

               IN ACCORDANCE WITH A PROTECTIVE ORDER, THE
               ENCLOSURE(S) SHALL BE TREATEDASFOR ATTORNEYS' EYES
               ONLY AND SHALL NOT BE SHOWN TO ANY PERSON OTHER
               THANTHOSEPERSONS DESIGNATED IN PARAGRAPH 8OFTHE
               PROTECTIVE ORDER.

STIPULATED PROTECTIVE ORDER
                                                  3
If a party is filing a document that it has itself designated as" Confidential" or" Attorneys' Eyes

Only," that patiy shall reference this Protective Order in submitting the documents it proposes to

maintain under seal. Ifa non-designating party is filing a document that another party has

designated as "Confidential" or" Attorneys' Eyes Only," then the non-designating party shall file

the document under seal. If the non-designating party makes a request in \\l'iting to have the

document unsealed and designating patty does not file, within h,enty (20) calendar days, a

motion that sho\\S good cause to maintain the document under seal, then the Court shall unseal

the document. Before seeking to maintain the protection of documents filed with the Court, a

party must assess \\hether redaction is a viable alternative to complete nondisclosure.

       5.      Within thirty (30) days after receipt of the final transcript of the deposition of any

party or witness in this case, a party or the \vitness may designate as "Confidential" or

"Attorneys' Eyes Only" any portion of the transcript that the patty or witness contends discloses

confidential information. If a transcript containing any such material is filed with the Comt, it

shall be filed under seal and marked in the manner described in paragraph 4. Unlessothernise

agreed, all deposition transcripts shall be treated as" Confidential" until the expiration of the

thitty-day period.

       6.      "Confidential" or" Attorneys' Eyes Only" information and documents subject to

this Protective Order shall not be filed with the Cowt or included in \\hole or in part in

pleadings, motions, briefs, etc., filed in this case, except \\hen any portion(s) of such pleadings,

motions, briefs, etc. have been filed under seal by counsel and marked in the same manner as

described in paragraph 4 above. Such sealed portion(s) of pleadings, motions, briefs, documents,

etc., shall be opened only by the Comt or by personnel authorized to do so by the Court.




STIPULATED PROTECTIVE ORDER
                                                  4
        7.      Use of any information, documents, or po1tions of documents marked

"Confidential," including all information derived therefrom, shall be restricted solely to the

follo\\ing persons, 11ho agree to be bound by the terms of this Protective Order, unless additional

persons are stipulated by counsel or authorized by the Court:

                a.      Outside counsel ofrecord for the parties, and the administrative
                staff of outside counsel's firms.

                b.     In-house counsel for the parties, and the administrative staff for
                each in-house counsel.

                c.      Any party to this action \,ho is an individual, and every employee,
                director, officer, or manager of any party to this action \\ho is not an
                individual, but only to the extent necessary to further the interest of the
                parties in this litigation.

                d.       Independent consultants or expe1t witnesses (including paitners,
                associates and employees of the firm 11hich employs such consultant or
                expe1t) retained by a party or its attomeys for purposes of this litigation,
                but only to the extent necessary to further the interest of the parties in this
                litigation.

                e.     The Court and its personnel, including, but not limited to,
                stenographic reporters regularly employed by the Comt and stenographic
                reporters not regularly employed by the Court \1ho are engaged by the
                Court or the parties during the litigation of this action.

                f.      The authors and the origiirnl recipients of the documents.

                g.      Any court reporter or videographer reporting a deposition.

                h.       Employeesofcopy services, microfilming or database services,
                trial support firms and/or translators \1ho are engaged by the parties during
                the litigation of this action.

        8.      Use of any information, documents, or portions of documents marked" Attorneys'

Eyes Only," including all information derived therefrom, shall be restricted solely to the persons

listed in paragraphs 7(a), 7(b), 7(d), 7(e ), 7(f), 7(g) and 7(h), unless additional persons are

stipulated by counsel or authorized by the Court.




STIP ULATED PROTECTIVE ORDER
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       9.      Prior to being sho\\n any documents produced by another patty marked

"Confidential" or" Attorneys' Eyes Only,'' any person listed under paragraph 7(c ), 7(d), 7(g) or

7(h) shall agree to be bound by the terms of this Order by signing the agreement attached as

Exhibit A.

       10.     Whenever information designated as "Confidential" or" Attorneys' Eyes Only"

pursuant to this Protective Order is to be discussed by a party or disclosed in a deposition,

hearing, or pre-trial proceeding, the designating party may exclude from the room any person,

other than persons designated in paragraphs 7 and 8, as app!·opriate, for that portion of the

deposition, hearing or pre-trial proceeding.

       11.     Each party reserves the right to dispute the confidential status claimed by any

other party or subpoenaed party in accordance with this Protective Order. If a party believes that

any documents or materials have been inappropriately designated by another party or

subpoenaed party, that party shall confer with counsel for the designating party. As part of that

conferral, the designatingpaity must assess \\hether redaction is a viable alternative to complete

non-disclosure. If the patties are unable to resolve the matter informally, a party may file an

appropriate motion before the Comt requesting that the Court determine ,,hether the Protective

Order covers the document in dispute. Regardless oh,hich party files the motion, the party

seeking to protect a document from disclosure bears the burden of establishing good cause for

\\hy the document should not be disclosed. A party ,,ho disagrees with another party's

designation must nevertheless abide by that designation until the matter is resolved by agreement

of the patties or by order of the Court. A party must use its best effotts to dispute the

confidential status claimed by any other party or subpoenaed party in a timely manner.




STIPULATED PROTECTIVE ORDER
                                                  6
        12.    The inadvertent failure to designate a document, testimony, or other material as

"Confidential" or "Attorneys' Eyes Only" prior to disclosure shall not operate as a \laiver of the

party's right to later designate the document, testimony, or other material as "Confidential" or

"Attorneys' Eyes Only." The receiving party or its counsel shall not disclose such documents or

materials if that party or counsel kno1\S or reasonably should know that a claim of confidentiality

\\trnld be made by the producing party. Pursuant to Fed. R. Civ. P. 26(b)(5), promptly after

receiving notice from the producing party of a claim of confidentiality, the receiving party or its

counsel shall inform the producing party of all pertinent facts relating to the prior disclosure of

the newly-designated documents or materials, and shall make reasonable efforts to retrieve such

documents and materials and to prevent further disclosure.

       13.     Designation by either party of information or documents as" Confidential" or

"Attorneys' Eyes Only," or failure to so designate, will not be constitute an admission that

information or documents are or are not confidential or trade secrets. Neither party may

introduce into evidence in any proceeding bet\\een the parties, other than a motion to determine

1\hether the Protective Order covers the information or documents in dispute, the fact that the

other party designated or failed to designate information or documents as "Confidential" or

"Attorneys' Eyes Only."

       14.     Upon the request of the producingpaity or third party, within 30 days after the

entry of a final judgment no longer subject to appeal on the merits of this case, or the execution

of any agreement bet\\een the parties to resolve amicably and settle this case, the parties and any

person authorized by this Protective Order to receive confidential information shall return to the

producing paity or third party, or destroy, all information and documents subject to this

Protective Order. Returned materials shall be delivered in sealed envelopes marked



STIPULATED PROTECTIVE ORDER
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"Confidential" to respective counsel. The patty requesting the return of materials shall pay the

reasonable costs ofrespondingto its request. Not,,ithstandingthe foregoing, counsel for a party

may retain archival copies of confidential documents.

        15.     This Protective Order shall not constitute a ;;aiver of any patty's or non-party's

right to oppose any discovery request or object to the admissibility of any document, testimony

or other information.

        16.    Nothing in this Protective Order shall prejudice any party from seeking

amendments to expand or restrict the rights of access to and use of confidential information, or

other modifications, subject to order by tl;ie Court.

        17.    The restrictions on disclosure and use ofconfidential information shall survive the

conclusion of this action and this Court shall retain jurisdiction of this action after its conclusion

for the purpose of enforcing the terms of this Protective Order.



Dated: June 14, 2019                   Respectfully submitted,

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[Additional Co11nselfor Nike on the FoUowing Page]




STIPULATED PROTECTIVE ORDER
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                              Attorneys for Defendant NIKE, INC.




STIPULATED PROTECTIVE ORDER
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                                             ORDER

       The Court has revie\\ed the reasons offered in support of entry of this Protective Order

and finds that there is good cause to protect the confidential nature of certain information.

Accordingly, the Court adopts the above Protective Order in this action.

       IT IS SO ORDERED.


Dated: June   a,   2019

                                                      United States Magistrate Judge




STIPULATED PROTECTIVE ORDER
                                                10
                                           EXHIBIT A

        I, _ _ _ _ _ _ _ _ _ _ __, have been advised by counsel ofrecord for

- - - - - - - - - - - - ~ · i n the above-referenced matter, captioned as Cahill, et al. v.

Nike, Inc., Case No. 3:l 8-cv-01477-JR, filed in the United States District Court for the District of

Oregon, of the Protective Order governing the delivery, publication, and disclosure of

confidential documents and information produced in this litigation. I have read a copy of the

Protective Order and agree to abide by its terms.




                                              Signed


                                              Printed


                                              Date




STIPULATED PROTECTIVE ORDER
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